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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


                                 )
STATE OF FLORIDA,                )
                                 )
    Plaintiff,                   )
                                 )
    v.                           )       Civil Action No. 3:21-cv-01066
                                 )
The UNITED STATES OF             )
AMERICA, et al.,                 )
                                 )
    Defendants.                  )
                                 )




                   DEFENDANTS’ RESPONSES TO
                    PLAINTIFF’S FIRST SET OF
                       INTERROGATORIES




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      Pursuant to Federal Rule of Civil Procedure 33, Defendants hereby submit

their objections and responses to Plaintiff’s First Set of Requests for Interrogatories

to Defendant U.S. Department of Homeland Security (“DHS”).

                            GENERAL STATEMENT

      Defendants’ responses and objections are based on the information known to

Defendants at this time and are made without prejudice to assertion of additional

responses and objections should Defendants identify additional grounds therefore.

Defendants reserve the right to supplement, clarify, revise, or correct any or all of

their responses to Plaintiffs’ Interrogatories. By answering any Interrogatories,

Defendants do not concede the materiality of the subject to which it refers.

Defendants’ responses are made expressly subject to, and without waiving or

intending to waive, any questions, or objections as to the competency, relevancy,

materiality, privilege, or admissibility as evidence or for any other purpose, of any

of the documents or information provided, or of the subject matter thereof, in any

proceeding including the trial of this action or any subsequent proceeding.

      Defendants object to Plaintiffs’ general failure to limit the time period of

their requests. Such unbounded requests are overbroad and not proportional to the

needs of the case. Pursuant to the parties’ agreement, therefore, Defendants’

responses do not cover the period before January 1, 2020.


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       Finally, inadvertent production of any document or information which is

privileged, was prepared in anticipation of litigation, or is otherwise immune from

discovery, shall not constitute a waiver of any privilege or other ground for

objecting to discovery with respect to that document or any other document, or its

subject matter, or the information contained therein, or of Defendants’ right to

object to the use of any such document or the information contained therein during

any proceeding in this litigation or otherwise. Any material produced is produced

pursuant to the terms of the parties’ stipulated protective order.

                              INTERROGATORIES

INTERROGATORY NO. 1

       Please explain upon what authority or authorities DHS relies on to release

applicants for admission, as reflected in the “Notice to Appear/Own

Recognizance” row and “U.S. Border Patrol – Disposition and Transfers” tab of

CBP’s reported data, https://www.cbp.gov/newsroom/stats/custody-and-transfer-

statistics.

RESPONSE TO INTERROGATORY NO. 1

       The information reflected in CBP’s publicly reported data speaks for itself.

CBP generally relies upon the authorities found in 8 U.S.C. § 1226 to release

applicants for admission on their own recognizance.

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INTERROGATORY NO. 2

      Please explain upon what authority or authorities DHS relies on to release

applicants for admission, as reflected in status reports filed by DHS in Texas v.

Biden, No. 2:21-cv-67 (N.D. Tex.).

RESPONSE TO INTERROGATORY NO. 2

      The monthly reports CBP and ICE are required to file pursuant to the

injunction issued in Texas v. Biden, No. 21-cv-0067 (N.D. Tex. Aug. 13, 2021),

speak for themselves. ICE generally relies on 8 U.S.C. § 1182(d)(5)(A) and 8

C.F.R. § 212.5 for “paroled” cases; 8 U.S.C. § 1231 and 8 C.F.R. § 241 for cases

subject to “orders of supervision”; 8 U.S.C. § 1226(a) and 8 C.F.R. § 236 for cases

subject to “order of recognizance” or “bonded out.” ICE also relies on operative

case law, court orders, and other applicable statutes and regulations.

INTERROGATORY NO. 3

      Please explain whether DHS believes it has authority or discretion to release

applicants for admission pursuant to 8 U.S.C. § 1226 if DHS decides to place an

alien in standard removal proceedings rather than expedited removal proceedings.

RESPONSE TO INTERROGATORY NO. 3

      CBP and ICE have discretion to place removable noncitizens into removal

proceeding under 8 U.S.C. § 1229a instead of 8 U.S.C. § 1225(b)(1) proceedings in

some circumstances. See Matter of E-R-M- & L-R-M-, 25 I. & N. Dec. 520, 523
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(BIA 2011) (“DHS has discretion to put [noncitizens] in section 240 removal

proceedings even though they may also be subject to expedited removal under

section 235(b)(1)(A)(i) of the Act.”). Those placed in removal proceedings under 8

U.S.C. § 1229a are generally detained pursuant to 8 U.S.C. § 1226 and can be

released under 8 U.S.C. § 1226(a) in appropriate cases in accordance with law.


INTERROGATORY NO. 4


      If DHS believes it has authority or discretion to release applicants for

admission pursuant to 8 U.S.C. § 1226, please explain what criteria DHS uses to

determine when to do so, as opposed to detaining the alien as required by 8 U.S.C.

§ 1225.

RESPONSE TO INTERROGATORY NO. 4

      Noncitizens detained pursuant to 8 U.S.C. § 1226(a) may be released provided

that the noncitizen demonstrates, to the satisfaction of the immigration officer, that:

(1) such release would not pose a danger to property or persons and (2) the noncitizen

is likely to appear for any future proceedings. ICE cannot release noncitizens subject

to mandatory detention pursuant to 8 U.S.C. § 1226(c) unless the narrow exception

found in 8 U.S.C. § 1226(c)(2) applies, or unless ordered by the court.

      In addition, CBP assesses whether each individual applicant for admission

may be considered for release on a case-by-case basis. CBP is producing documents

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in response to Plaintiff’s Request for Production No. 66 that address these factors,

and this Response incorporates those documents by reference.

INTERROGATORY NO. 5

      If DHS believes it has authority or discretion to release applicants for

admission pursuant to 8 U.S.C. § 1226, please explain whether DHS’s initial

arrests in those cases are made pursuant to an immigration warrant.

RESPONSE TO INTERROGATORY NO. 5

      Noncitizens, including applicants for admission as defined by 8 U.S.C. §

1225(a)(1) and whose detention is governed by 8 U.S.C. § 1226, may be arrested

with or without a civil immigration warrant. See, e.g., 8 U.S.C. § 1357(a)(2).

Date: May 27, 2022                     Respectfully submitted,

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AGENCY CERTIFICATIONS




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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 26, 2022, I served DEFENDANTS’

RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES via

email on the following counsel for Plaintiff in Florida v. United States, et al., No.

3:21-cv-01066.

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                   Civil Division




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